                              UNITED STATES DISTRICT COURT

                        FOR THE MIDDLE DISTRICT OF TENNESSEE

                                  NORTHEASTERN DIVISION


UNITED STATES OF AMERICA                          )
                                                  )
                                                  )
       v.                                         )   No. 2:11-00003-1
                                                  )   Chief Judge Sharp
                                                  )
WILLIAM EARL McGUIRE, JR.                         )

                                    SUPPLEMENTAL BRIEF

       Mr. McGuire filed a pro se motion to reduce his sentence pursuant to 18 U.S.C. §

3582(c)(2) and Amendment 782. The Court thereafter appointed the Office of the Federal Public

Defender to represent Mr. McGuire in this matter and directed that counsel file any supplement

to the pro se petition within twenty days after receipt of the revised presentence report. The

supplement to the presentence report, dated April 14, 2016, was provided to counsel. The parties

also met to discuss any possible agreement on the appropriateness of granting relief.

       Counsel for Mr. McGuire has reviewed the indictment, the superseding indictment, the

second superseding indictment, the plea petition and plea agreement, the original presentence

report, the supplement to the presentence report, the Judgment, Mr. McGuire’s institutional

record, and other documents relevant to the issues raised by Mr. McGuire.

       Based on that review it appears that Mr. McGuire was found to be a career offender under

the Sentencing Guidelines based on having two prior convictions for drug felonies and two prior

convictions for violent felonies at the time of the federal offense. Current law in the Sixth

Circuit states that a defendant sentenced as a career offender is not entitled to the sentence




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  reduction afforded by Amendment 782. See, e.g., United States v. Smith, 814 F.3d 802 (6th Cir.

  2016). For that reason it appears that the Court would not have the authority to reduce Mr.

  McGuire’s sentence pursuant to Amendment 782.

                                              Respectfully submitted,



                                              s/ Sumter L. Camp
                                              SUMTER L. CAMP
                                              Assistant Federal Public Defender
                                              Attorney for Defendant
                                              810 Broadway Suite 200
                                              Nashville, TN 37203
                                              615-736-5047


                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 5th day of May, 2016, I electronically filed the foregoing
Supplemental Brief with the clerk of the court by using the CM/ECF system, which will send a
notice of Electronic Filing to the following: the Honorable Ahmed Safeeullah, Assistant United
States Attorney, 110 9th Avenue South, Suite A961, Nashville, Tennessee 37203.

                                                     s/ Sumter L. Camp
                                                     SUMTER L. CAMP




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